  Case 3:19-cr-00083-M Document 227 Filed 07/09/20                   Page 1 of 7 PageID 1806


                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

UNITED STATES OF AMERICA                                  Filed Under Seal

v.                                                        CRIMINAL NO. 3:19-CR-083-M

RUEL M. HAMILTON


     GOVERNMENT’S SEALED MOTION TO REVOKE OR MODIFY THE
         DEFENDANT’S CONDITIONS OF PRETRIAL RELEASE

       The government moves to revoke, or, in the alternative, modify the defendant’s

conditions of pretrial release based on his repeated and flagrant violation of the condition

that he have no contact with potential witnesses in the case. As explained below, on

multiple occasions the defendant contacted potential government witness, Leslie Martin,

and attempted to dissuade her from speaking with government agents.

                                          BACKGROUND

       On February 21, 2019, the grand jury returned a two-count indictment charging

the defendant with bribery concerning a local government receiving federal benefits in

violation of 18 U.S.C. § 666. (Dkt. 1.) At the defendant’s initial appearance, U.S.

Magistrate Judge Renee Toliver ordered the defendant released pending trial, subject to a

number of conditions, including that he “avoid all contact, directly or indirectly, with any

person who is or may be a victim or witness in the investigation or prosecution,

including: any-co-defendants or co-conspirators.” (Dkt. No. 15 at 2, ¶ (7)(g) (emphasis

added).) The defendant acknowledged the conditions of his release in open court and

signed the release order, in which he “promise[d] to obey all conditions of release” and


Government’s Motion to Revoke or Modify Conditions of Release – Page 1
  Case 3:19-cr-00083-M Document 227 Filed 07/09/20                   Page 2 of 7 PageID 1807


stated that he was “aware of the penalties and sanctions” for violating the release

conditions. (Id. at 3.)

       On December 3, 2019, the grand jury returned a superseding indictment which, as

relevant here, added a conspiracy charge, alleging that the defendant bribed former Dallas

City Councilmember Carolyn Davis through various means, including by providing her

with illegal campaign donations for the candidates of her choice. To increase the illegal

benefit to Davis, the defendant would write multiple checks to the same candidate for an

aggregate amount that exceeded the limit for a single donor. To disguise the fact that

these donations all came from a single individual and were in excess of campaign-finance

limits, the checks referenced the names of the defendant’s employees and family

members, including his minor grandchildren—often without their knowledge. (See Dkt.

No. 139 (Count One).) In addition to constituting a bribe to Davis, this conduct violated

local campaign-finance limits, and, because the defendant attempted to obscure the

source of the donations, constituted a criminal offense under state law.

       Leslie Martin, a former employee of the defendant, was one of his unwitting straw

donors. The defendant knew—as early as December 18, 2019—that Martin was a

potential government witness in this case because the government disclosed her name,

along with the names of other potential government witnesses, to defense counsel and the

Court by email that day. (Exhibit 1.)

       Approximately three weeks later, the defendant—with full knowledge that Martin

was a potential government witness in this bribery prosecution—contacted her and left a

voicemail on her personal cell phone. The defendant told Martin that the government


Government’s Motion to Revoke or Modify Conditions of Release – Page 2
  Case 3:19-cr-00083-M Document 227 Filed 07/09/20                   Page 3 of 7 PageID 1808


was now focused on “the payroll tax issue from 2010” and that he had “been offering to

engage and pay for attorneys to represent all the corporate employees.” (Exhibit 2.) This

is the first verbal contact that the defendant had with Martin since her termination from

his company, AmeriSouth, in 2015. Then the next day, January 9, Martin received a

$1,650 distribution check for one of her investments in an AmeriSouth property.

Notably, Martin did not receive a distribution check for her investments for nearly 17

years prior to September 2018—about a month after the government informed the

defendant that he was the subject of a federal bribery investigation.

       On January 10, Martin left a voice message returning the defendant’s call, and the

defendant returned her call on January 13. The call was recorded. On the call, the

defendant again offered to pay for a lawyer to represent Martin. The lawyer he proposed

to hire, Sarah Wirskye, also represents three other AmeriSouth employees who are

potential government witnesses in this case.

       While Hamilton carefully framed the conversation with disclaimers that Martin

was free to speak with the FBI and that he was not telling her to refuse to be interviewed,

he plainly attempted to dissuade Martin from cooperating with law enforcement:

       [O]bviously I’ve got to say this right. If the FBI contacts you and you want
       to speak with them, you can. You don’t have to. You can get counsel.
       You can hire anybody you want and obviously that costs money. Or the
       company is willing to pay for counsel for everybody.

The defendant further explained that, “if you were engaged with counsel, they, FBI, if

they want to speak to you would have to speak to the attorney and not you.” In response

to her question about why she needed a lawyer, the defendant told Martin that

government agents could lie to her or try to intimidate her: “[T]hey try to intimidate, you
Government’s Motion to Revoke or Modify Conditions of Release – Page 3
    Case 3:19-cr-00083-M Document 227 Filed 07/09/20                    Page 4 of 7 PageID 1809


know. You can’t count on them telling you the truth, so I’m just throwing that out there.”

Martin told the defendant that she would have to think about his offer for legal

representation, to which he responded: “I don’t think you’d contacted . . . but they can be

very intimidating.” (Exhibit 3.)1

        Then, on January 22, Martin again called the defendant to tell him that she would

not accept his offer to be represented by Wirskye and that she did not want to talk to his

attorneys. On that call, which was also recorded, the defendant again advised Martin to

be wary of the FBI lying to her and explained that the benefit of having a lawyer is that

the FBI cannot contact her directly:

        I’ve learned a lot about how the FBI and how the government works now.
        They will—they will say anything. They will make up anything. They
        don’t have to tell the truth. They could show up at your door and tell you a
        lie and it’s perfectly acceptable.

        ***

        [I]f you’re represented by counsel[,] they’ve got to go through your
        attorney. So they can’t talk to you, essentially, unless your attorney says
        they can. Okay?

        The defendant also suggested that Martin could get in trouble even if she did

nothing wrong personally. After Martin told the defendant that she “didn’t do anything

wrong, and you’re [the defendant] the one that didn’t pay the taxes,” the defendant




1
  Per the advice of the Department of Justice’s Professional Responsibility Advisory Office, a separate
taint team was assigned to conduct the investigation of the defendant’s contacts with Martin. Thereafter,
the prosecution team was provided only redacted transcripts of the January 13 and 22 calls between the
defendant and Martin that exclude any conversations about the bribery case, and it is attaching those
redacted transcripts as exhibits to this motion. In conjunction with the filing of this motion, and so the
prosecution team satisfies it’s discovery obligations, the taint team will provide defense counsel and the
Court with unredacted versions of the conversations.

Government’s Motion to Revoke or Modify Conditions of Release – Page 4
  Case 3:19-cr-00083-M Document 227 Filed 07/09/20                   Page 5 of 7 PageID 1810


warned her that “the mere fact that you did nothing wrong does not keep you out of

trouble with these people [the FBI].”

       The defendant told Martin that his own lawyer would tell her not to talk to the

FBI:

       [Q]uite frankly, I think Abbe [Lowell], my attorney would tell you, you
       don’t want to talk to them because there’s nothing good that’s going to
       come from it.

       The defendant referred to the FBI as “a bunch of storm troopers” and claimed that

the government will “just charge people with shit even if they know it’s not real.” He

told Martin that “they treat everyone like they’re the mob.” He also told Martin:

       [M]y advice, if anybody asked me what should I—what should I do, this is
       anybody, anywhere, anytime, I would say don’t speak to law enforcement
       without—guilty or not without legal representation . . . . Just because it’s
       just, you know, I mean, it’s just—gah, I mean, it’s just a nightmare.

       ***

       I can’t tell you, you can’t do it, you know, because I can get in trouble . . . if
       I said don’t do it, you know . . . . I’m hoping to keep everybody out of this.

In other words, Hamilton appeared to choose his words carefully precisely because

he knew that it was illegal—or at least “out of bounds”—to attempt to dissuade a

potential witness from cooperating with the government. (Exhibit 4.)

                                            ARGUMENT

       It is plain that the defendant, through his contacts with Martin, has repeatedly

violated his conditions of release. There is no dispute that the defendant knew that

Martin might offer testimony against him in this case. He was put on notice of this fact

not only by the government’s early disclosure of its witnesses, but also by the content of


Government’s Motion to Revoke or Modify Conditions of Release – Page 5
  Case 3:19-cr-00083-M Document 227 Filed 07/09/20                   Page 6 of 7 PageID 1811


the superseding indictment. Indeed, the defendant personally made campaign

contributions in Martin’s name without her knowledge or consent, and those are the

precise allegations that appear in the superseding indictment.

          Nor is there any dispute that the defendant intentionally failed to “avoid all

contact, directly or indirectly, with” Martin. (Dkt. No. 15 at 2, ¶ (7)(g).) The defendant

repeatedly and personally contacted Martin, and those conversations are recorded.

Finally, the defendant’s violations of his conditions were neither technical nor harmless.

Instead, while maintaining the faux position that he was not telling her what to do, the

defendant clearly attempted to dissuade Martin from speaking with law enforcement.

Courts order criminal defendants to have no contact with potential witnesses precisely to

avoid this sort of inappropriate influence.

          Under these circumstances, the defendant has demonstrated that he is unwilling or

incapable of abiding by the Court’s conditions of pretrial release. Accordingly, the

government respectfully asks the Court to set a hearing, issue a summons for the

defendant’s appearance, and revoke his pretrial release, or, at the very least, admonish the

defendant and modify those conditions to make abundantly clear that he is precluded

from inappropriately contacting potential witnesses for any reason whatsoever in the

future.

                                           CONCLUSION

          The government respectfully requests that the Court set a hearing, issue a

summons for the defendant’s appearance, and, based on the forgoing, revoke or modify

his conditions of pretrial release.


Government’s Motion to Revoke or Modify Conditions of Release – Page 6
  Case 3:19-cr-00083-M Document 227 Filed 07/09/20                   Page 7 of 7 PageID 1812




                                               Respectfully submitted,


                                               ERIN NEALY COX
                                               United States Attorney

                                               /s/ Andrew Wirmani
                                               Andrew O. Wirmani
                                               Assistant United States Attorney
                                               Texas Bar No. 24052287
                                               1100 Commerce Street, Third Floor
                                               Dallas, Texas 75242
                                               Telephone: 214.659.8681
                                               Facsimile: 214.767.4100




                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 9, 2020, I electronically filed the foregoing document

with the Clerk of Court for the United States District Court, Northern District of Texas,

using the electronic case filing system of the Court. The electronic case filing system

sent a “Notice of Electronic Filing” to all attorneys who have consented in writing to

accept this Notice as service of this document.


                                               /s/ Andrew Wirmani
                                               Andrew O. Wirmani
                                               Assistant United States Attorney




Government’s Motion to Revoke or Modify Conditions of Release – Page 7
